            Case 6:20-cv-00474-ADA Document 49 Filed 11/10/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,                              Case No. 6:20-cv-00474-ADA

                Plaintiff,
                                                        JURY TRIAL DEMANDED
       v.

DELL TECHNOLOGIES INC., DELL INC.,
AND EMC CORPORATION,

                Defendants.


   UNOPPOSED MOTION TO STRIKE DUPLICATE LETTER OF REQUEST FOR
                      FOREIGN DISCOVERY


       Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation, (collectively

“Defendants”) filed a Motion for Letter of Request (Dkt. 46) for foreign discovery on November

6, 2020, which was a duplicate of Motion for Letter of Request (Dkt. 45). Defendants respectfully

request that the Court strike the Motion for Letter of Request (Dkt. 46).




Dated: November 10, 2020                   By: /s/ Barry K. Shelton
                                               Barry K. Shelton
                                               Texas State Bar No. 24055029
                                               bshelton@sheltoncoburn.com
                                               SHELTON COBURN LLP
                                               311 RR 620, Ste. 205
                                               Austin, TX 78734-4775
                                               Telephone: 512.263.2165
                                               Facsimile: 512.263.2166



                                                 Attorneys for Defendants



                                                 1
         Case 6:20-cv-00474-ADA Document 49 Filed 11/10/20 Page 2 of 2



                              CERTIFICATE OF SERVICE

       The undersigned certifies that on November 10, 2020, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(b)(1).

                                                        /s/ Barry K. Shelton
                                                        Barry K. Shelton




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